Case 1:13-cr-10200-GAO Document 107-2 Filed 09/27/13 Page 1 of 5




                       EXHIBIT B
       Case 1:13-cr-10200-GAO Document 107-2 Filed 09/27/13 Page 2 of 5




                       DECLARATION OF KEVIN McNALLY
                    REGARDING PRE‐TRIAL PREPARATION TIME

      1. I currently serve as the Director of the Federal Death Penalty Resource

Counsel Project, assisting court‐appointed and defender attorneys charged with the

defense of capital cases in the federal courts. I have served as Resource Counsel

since the inception of the Resource Counsel Project in January, 1992. The Project is

funded and administered under the Criminal Justice Act by the Office of Defender

Services of the Administrative Office of the United States Courts.

      2. My responsibilities as federal resource counsel include the monitoring of

all federal capital prosecutions throughout the United States in order to assist in the

delivery of adequate defense services to indigent capital defendants in such cases.

This effort includes the collection of data on the initiation and prosecution of federal

capital cases.1


  1
    The work of the Federal Death Penalty Resource Counsel Project is described in
a report prepared by the Subcommittee on Federal Death Penalty Cases, Committee
on Defender Services, Judicial Conference of the United States, FEDERAL DEATH
PENALTY CASES: RECOMMENDATIONS CONCERNING THE COST AND QUALITY OF
DEFENSE REPRESENTATION (May, 1998), at 28‐30.
www.uscourts.gov/dpenalty/1COVER.htm. The Subcommittee report “urges the
judiciary and counsel to maximize the benefits of the Federal Death Penalty Resource
Counsel Project ..., which has become essential to the delivery of high quality, cost‐
effective representation in death penalty cases ....” Id. at 50. A recent update to the
Report stated: “Many judges and defense counsel spoke with appreciation and
admiration about the work of Resource Counsel. Judges emphasized their assistance
in recruiting and recommending counsel for appointments and their availability to
       Case 1:13-cr-10200-GAO Document 107-2 Filed 09/27/13 Page 3 of 5




      3.   In order to carry out the duties entrusted to me, I maintain a

comprehensive list of federal death penalty prosecutions and information about

these cases. I accomplish this by internet news searches, by reviewing dockets and

by downloading and obtaining indictments, pleadings of substance, notices of intent

to seek or not seek the death penalty, and by telephonic or in‐person interviews with

defense counsel or consultation with chambers. This information is regularly updated

and is checked for accuracy by consulting with defense counsel. The Project’s

information regarding federal capital prosecutions has been relied upon by the

Administrative Office of the United States Courts, by the Federal Judicial Center and

by various federal district courts.

      4. Resource counsel collect comprehensive, accurate data concerning various

practices that have emerged since the federal courts resumed trying capital cases in

1990. This collection of data includes the intervals of time between various pretrial

milestones and trial. The federal courts have, with few exceptions, permitted

considerable time between the indictment and mitigation submission and between



consult on matters relating to the defense, including case budgeting. Defense counsel
found their knowledge, national perspective, and case‐specific assistance
invaluable.”
http://www.uscourts.gov/FederalCourts/AppointmentOfCounsel/Publications/Up
dateFederalDeathPenaltyCases.aspx
                                         2
        Case 1:13-cr-10200-GAO Document 107-2 Filed 09/27/13 Page 4 of 5




the government’s notice of intent to seek the death penalty and the commencement

of trial.

       5. The average time between indictment and the trial date in federal capital

cases is approximately 27.3 months. The average time between indictment and the

notice of intent to seek the death penalty is 13.0 months. The average time between

the notice of intent to seek the death penalty and the trial date is approximately 15.6

months.2

       6. Pursuant to declarant's responsibilities as Federal Death Penalty Resource

Counsel, declarant has compiled the above information regarding federal capital

cases in the regular course of the business of the Federal Death Penalty Resource

Counsel Project.

       I declare under the penalty of perjury under the laws of the United States of

America, 28 U.S.C. §1746, that the foregoing is true and correct. Executed this 3rd

day of April, 2013.


                                                     /s/ Kevin McNally
                                                     Kevin McNally


   2
    The Project has obtained the date for 491 indictments, 479 notices of intent to
seek the death penalty and the date or scheduled date for 439 trials. These dates are
in the attached report. This accounts for the apparent disparity in the figures above.
                                          3
Case 1:13-cr-10200-GAO Document 107-2 Filed 09/27/13 Page 5 of 5




                               4
